              Case 1:07-cv-03116-CC Document 501 Filed 01/15/16 Page 1 of 2
                   Case: 10-10100 Date Filed: 01/15/2016 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

Douglas J. Mincher                                                                  For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                         January 15, 2016

James N. Hatten
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 10-10100-GG
Case Style: Evangelina Forsberg v. James Pefanis, et al
District Court Docket No: 1:07-cv-03116-JOF

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

AMY C. NERENBERG, Acting Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                      MDT-1 Letter Issuing Mandate
          Case 1:07-cv-03116-CC Document 501 Filed 01/15/16 Page 2 of 2
               Case: 10-10100 Date Filed: 01/15/2016 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                                For the Eleventh Circuit
                                    ______________

                                          No. 10-10100
                                         ______________

                                     District Court Docket No.
                                        1:07-cv-03116-JOF

EVANGELINA FORSBERG,

             Plaintiff - Appellee,

versus

JAMES PEFANIS,

             Defendant - Appellant,


AME FINANCIAL CORPORATION,
GEORGIA MUTUAL MORTGAGE CORPORATION,
LENDXFINANCIAL, LLC,

              Defendants.
                     __________________________________________

                       Appeal from the United States District Court for the
                                  Northern District of Georgia
                       __________________________________________

                                           JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                  Entered: December 11, 2015
                  For the Court: AMY C. NERENBERG, Acting Clerk of Court
                                      By: Djuanna Clark




ISSUED AS MANDATE 01/15/2016
